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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       CRIMINAL NO. 21-cr-670 (CJN)
               v.                             :
                                              :
STEPHEN K. BANNON,                            :
                                              :
                       Defendant.             :

                    UNITED STATES’ SENTENCING MEMORANDUM

       From the moment that the Defendant, Stephen K. Bannon, accepted service of a subpoena

from the House Select Committee to Investigate the January 6th Attack on the United States Capitol

(“the Committee”), he has pursued a bad-faith strategy of defiance and contempt. The Committee

sought documents and testimony from the Defendant relevant to a matter of national importance:

the circumstances that led to a violent attack on the Capitol and disruption of the peaceful transfer

of power.    In response, the Defendant flouted the Committee’s authority and ignored the

subpoena’s demands. The Defendant, a private citizen, claimed that executive privilege—which

did not apply to him and would not have exempted his total noncompliance even if it had—justified

his actions. Then, on the eve of trial, he attempted an about-face, representing to the Committee

that former President Donald J. Trump had waived executive privilege and freed the Defendant to

cooperate. But this proved a hollow gesture; when he realized that his eleventh-hour stunt would

not prevent his trial, the Defendant’s cooperative spirit vanished. Despite the removal of the only

purported barrier to his compliance, to this day the Defendant has not produced a single document

to the Committee or appeared for testimony. For his sustained, bad-faith contempt of Congress,

the Defendant should be sentenced to six months’ imprisonment—the top end of the Sentencing

Guidelines’ range—and fined $200,000—based on his insistence on paying the maximum fine

rather than cooperate with the Probation Office’s routine pre-sentencing financial investigation.
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                                PROCEDURAL BACKGROUND

       As this Court is aware, and as elaborated below, on October 7, 2021, the Defendant

defaulted on the Committee subpoena’s demand for documents. ECF No. 1 (Indictment), ⁋ 15.

One week later, on October 14, he defaulted again, this time on the Committee subpoena’s demand

for deposition testimony. Id. ⁋ 19. The United States House of Representatives voted on

October 21, 2021, to hold the Defendant in contempt and referred his conduct to the United States

Attorney for the District of Columbia to be proceeded against as provided for by law. H.Res. 730,

117th Cong. (2021). On November 12, a federal grand jury in the District of Columbia returned

an indictment charging the Defendant with two counts of contempt of Congress, in violation of 18

U.S.C. § 192—one count for each of his willful defaults—see ECF No. 1, and on July 22, 2022, a

federal petit jury found him guilty as charged, ECF. No. 135 (Verdict Form). The Defendant is

scheduled to be sentenced on October 21, 2022—one year to the day after he was held in contempt

by the House.

                           RELEVANT SENTENCING EVIDENCE

       To determine an appropriate sentence, the Court may consider all evidence relevant to the

conduct of conviction, including evidence not presented to the jury, without regard to the rules of

admissibility at trial. United States v. Bell, 795 F.3d 88, 103 (D.C. Cir. 2015) (citing Rita v. United

States, 551 U.S. 338, 352 (2007)); U.S.S.G. § 6A1.3(a). The Court’s findings of fact at sentencing

are subject to clear error review. United States v. Bikundi, 926 F.3d 761, 796 (D.C. Cir. 2019).

       At the Defendant’s trial, the reason he willfully defaulted—that is, why he deliberately

chose not to comply with the subpoena—was not relevant. Now, at sentencing, it is. The Court

can and should consider the Defendant’s motive as part of his history and characteristics, and as

part of the nature and circumstances of the offense. See Wisconsin v. Mitchell, 508 U.S. 476, 485




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(1993) (confirming that “[t]he defendant’s motive for committing the offense is [an] important

factor” to consider when imposing sentence). The factual record in this case is replete with proof

that with respect to the Committee’s subpoena, the Defendant consistently acted in bad faith and

with the purpose of frustrating the Committee’s work.

                                   The Defendant’s Default

       On September 23, 2021, the Committee issued the Defendant a subpoena for documents

and testimony. Ex. 1 (Subpoena Packet) at US-000408. The Committee did so because it had

reason to believe that the Defendant had information relevant to its investigation. For instance,

the Defendant had reportedly gathered at the Willard Hotel on January 5, 2021, to persuade

Members of Congress to block the certification of the Electoral College vote, and on the same

day—the day before the attack on the United States Capitol—the Defendant predicted on his

podcast that “All Hell is going to break loose tomorrow.” Id. at US-000410. The subpoena

required the Defendant to produce responsive records by October 7, 2021, appear for a deposition

on October 14, and set forth rules for how the Defendant should raise privileges and objections—

specifically, through a log of withheld records in lieu of documents, and in person on a question-

by-question basis during testimony. Id. at US-000414, US-000417. The Defendant’s attorney,

Robert J. Costello, accepted service of the subpoena. Ex. 2 (Sept. 24, 2021, Costello Email) at

US-000432.

       The subpoena’s first deadline, for documents, was October 7, 2021. But after receiving

the subpoena, the Defendant did not begin searching for responsive records. Instead, he began

searching for an excuse not to comply. Mr. Costello, the Defendant’s lawyer—with whom the

Defendant worked closely throughout the process of responding to the Committee, and by whom

the Defendant was provided and apprised of all correspondence with the Committee, see, e.g., Ex.




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3 (Nov. 3 & Nov. 8, 2021, Costello Interviews) at US-001769, US-001770, US-001771, US-

001773, US-001781; see also July 20, 2021, Trial Tr. 811:12-21—began calling around to identify

a lawyer for former President Trump to make an assertion of executive privilege. Ex. 3 at US-

001773. He did so even though executive privilege could not possibly permit the Defendant’s

total noncompliance; the Defendant was a private citizen who had not worked at the White House

for years; the subpoena’s demands sought records and information wholly unrelated to the

Defendant’s tenure there; and multiple categories of the subpoena were completely unrelated to

communications with the former President. Ultimately, Mr. Costello received contact information

for the former President’s then-attorneys, and initiated contact with one of them, Justin Clark. See

Ex. 4 (Oct. 5, 2021, Text Message Received by Mr. Costello with Mr. Clark’s Contact Information)

at US-001087; Ex. 5 (June 29, 2022, Clark Interview) at US-002263 (“Costello was responsible

for initiating contact” with former president’s attorneys).

       On October 6, 2021, Mr. Clark sent Mr. Costello a letter that stated that the subpoena

sought records “potentially protected from disclosure by the executive and other privileges” and

directed the Defendant “to the fullest extent permitted by law” and “where appropriate,” not to

produce documents or give testimony concerning privileged material. Ex. 6 (Oct. 6, 2021, Clark

Letter) at 1. The Clark Letter did not direct the Defendant to withhold any specific document

under any privilege, and unlike similar letters that Mr. Clark sent to other individuals who had

received subpoenas from the Committee, it did not inform the Defendant that the former President

believed he may have immunity from appearing because of a role as a high-level White House

advisor. That is because Mr. Clark was unsure whether the Defendant had any privileged

documents or information at all, and because the former President did not believe the Defendant

had immunity from testimony. Ex. 5 at US-002265 (“CLARK does not possess, nor has ever




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possessed, any knowledge of BANNON being in possession of documents, information, and/or

testimony which would be protected under ‘executive privilege.’ . . . Former United States

President Donald J. Trump also did not believe BANNON possessed immunity from complying

with the congressional subpoena. As such that is why the instruction letter provided to BANNON

was written differently when compared to [other instruction letters].”). Both through its own

qualified language and given the Committee’s clear rules for raising objections and privileges, the

Clark Letter did not exempt the Defendant from complying with the subpoena.

       But that did not stop the Defendant from exploiting the Clark Letter as an excuse to ignore

the Committee’s subpoena. On October 7, 2021, at 10:00 a.m., the Defendant allowed the

document deadline to pass without any attempt at compliance. He failed to produce a single

document and he did not contact the Committee to request an extension or otherwise negotiate

regarding the subpoena’s demands. Indeed, by that time, the Defendant had taken no steps to

identity and collect responsive records. Ex. 3 at US-001775 (“COSTELLO was not prepared to

respond on BANNON’s behalf on October 7, 2021. At that time, COSTELLO did not know what

BANNON possessed that would have been responsive to the Select Committee’s subpoena.”); see

also July 20, 2021, Trial Tr. 811:4-11. Later that day, Mr. Costello sent a letter to the Committee

stating that the Defendant could not comply because of the Clark Letter. Ex. 7 (Oct. 7, 2021,

Costello Letter).   Mr. Costello sent this letter even though, when later speaking with the

Government, he conceded that not all topics listed in the schedule could possibly implicate

executive privilege. Ex. 3 at US-001772.

       The next day, on October 8, 2021, the Committee promptly rejected the Defendant’s

claims. Ex. 8 (Oct. 8, 2021, Committee Letter). The Committee pointed out that the Clark Letter

did not constitute an actual assertion of executive privilege—and even if it had, most if not all of




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the subpoenaed items could not possibly implicate executive privilege; the subpoena required the

Defendant to provide non-privileged documents and indicate in a log any records withheld under

a privilege claim; and the subpoena required the Defendant to appear for a deposition on October

13 and assert in person any objections on a question-by-question basis. Further, the Committee

warned the Defendant that his noncompliance could result in referral for criminal prosecution. Id.

At the same time, the Defendant was publicizing and celebrating his defiance of the subpoena. He

gave an interview to the Daily Mail, providing a reporter with a copy of Costello’s letter to the

Committee and stating of his noncompliance, “I stand with Trump and the Constitution.” Ex. 9

(Oct. 8, 2021, Daily Mail Article and Social Media Post) at 1-7. The Defendant then posted the

resulting article on GETTR, a social media platform. Id. at 8.

       The Defendant and Mr. Costello did not respond to the Committee’s rejection and

resolution of his claims for several days. In fact, their next contact was initiated on October 12,

2021, by a Committee staffer who reached out by phone to Mr. Costello to arrange logistics for

the Defendant’s deposition, which was scheduled for two days later, on October 14. Ex. 10 (Nov.

2, 2021, Committee Staffer Interview) at US-000360. Mr. Costello indicated in that phone

conversation that the Defendant was unlikely to appear. Id. On October 13, the Committee staffer

followed up by email and had two additional conversations with Mr. Costello. Id. at US-000360-

61. Mr. Costello was clear that the Defendant would not appear for a deposition as commanded

by the subpoena. Id. at US-000361.

       Unbeknownst to the Committee, while Mr. Costello was continuing to claim on the

Defendant’s behalf to the Committee that executive privilege required the Defendant’s total

noncompliance, Mr. Clark was cautioning the Defendant that it did not. On October 11, 2021, Mr.

Costello sent a text message to Mr. Clark demonstrating that he understood that the former




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President had not yet invoked any privilege as to the Defendant. Ex. 11 (Mr. Costello writing,

‘What is President Trump going to do about asserting executive privilege with respect to Steve

Bannon?”). And on October 13, seemingly because of the Committee staffer’s repeated inquiries,

Mr. Costello forwarded to Mr. Clark the Committee’s October 8 letter rejecting the Defendant’s

claims. Ex. 12 (Oct. 13, 2021, Costello Email). According to Mr. Clark, he had a phone

conversation with Mr. Costello around the time of his receipt of the email, in which he reiterated

that there had been no assertion over any specific document in the Defendant’s possession because

Mr. Clark did not know what the Defendant had. Ex. 5 at US-002266-67. Mr. Clark also offered

to Mr. Costello to review any documents to which the Defendant believed the privilege might

apply—an offer that the Defendant, through Mr. Costello or otherwise, never acted upon—and

urged that the Defendant contact the Committee and work with them. Id. Mr. Clark never

“instructed, directed, or implied” that the Defendant should refuse to appear for his deposition. Id.

at US-002266. The Defendant did not follow this advice. Instead, Mr. Costello sent the Committee

a letter stating that the Defendant would refuse to appear for a deposition. Ex. 13 (Oct. 13, 2021,

Costello Letter).

       On October 14, 2021, the Defendant failed to appear for his scheduled deposition at 10:00

a.m. Also on October 14, Mr. Clark emailed Mr. Costello to reiterate the message he had provided

by phone the previous day. Ex. 14 (Oct. 14, 2021, Clark-Costello Emails) at US-000987-88. Mr.

Clark wrote that he had just read Mr. Costello’s October 13 letter to the Committee stating that

Mr. Clark had “informed us that President Trump is exercising his executive privilege; therefore,

he has directed Mr. Bannon not to produce documents or testify until the issue of executive

privilege is resolved,” id. at US-000987, and explained, “To be clear, in our conversation yesterday

I simply reiterated the instruction from [the Clark Letter] dated October 6, 2021, and attached




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below” id. at US-000988. In an interview with the Government, Mr. Clark explained that when

he read Mr. Costello’s October 13 letter, he was angered because Mr. Costello “had completely

misrepresented” to the Committee what Mr. Clark had told him. Ex. 5 at US-002267. Separately,

Mr. Costello forwarded Mr. Clark’s email message to the Defendant and took issue with what he

understood Mr. Clark to be saying—that the former President was not invoking executive

privilege—and told the Defendant, “I don’t know what game Clark is playing but it puts Steve

Bannon in a dangerous position. Beware.” Ex. 14 at US-00987. Mr. Costello told the Government

he warned the Defendant because he understood, and wanted to make sure that the Defendant

understood, that failure to comply with the subpoena could result in a referral to the Department

of Justice and criminal prosecution. Ex. 3 at US-001781. Nonetheless, neither the Defendant nor

Mr. Costello took any steps to reach out to the Committee, correct Mr. Costello’s representations

to the Committee, or otherwise make any effort to comply with the subpoena.

       The day after the Defendant failed to appear for his deposition, on October 15, 2021, the

Committee sent Mr. Costello a letter advising that the Defendant had defaulted completely on the

subpoena and that the Committee would be meeting on October 19 to vote on whether to refer him

for prosecution. Ex. 15 (Oct. 15, 2021, Committee Letter). The letter directed the Defendant to

raise any issues regarding his noncompliance that the Committee should consider by 6:00 p.m. on

October 18. Id. at US-000449-50.

       On October 16, 2021, Mr. Clark again stridently advised Mr. Costello that the former

President was not directing the Defendant to defy the Committee’s subpoena, writing:

       Just to reiterate, [the Clark Letter] didn’t indicate that we believe there is immunity
       from testimony for your client. As I indicated to you the other day, we don’t believe
       there is. Now, you may have made a different determination. That is entirely your
       call. But as I also indicated the other day other avenues to invoke the privilege – if
       you believe it to be appropriate – exist and are your responsibility. If you haven’t



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       already I’d encourage you again to contact counsel for the committee to discuss it
       further.

Ex. 16 (Oct. 16-18, 2021, Clark-Costello Emails) at US-000985. In an interview with the

Government, Mr. Clark indicated that he was prompted to send this email upon seeing media

reports that the Defendant had completely defied the subpoena. Ex. 5 at US-002268. Mr. Clark

further explained that the “other avenues” he had explained to Mr. Costello included working with

the Committee to identify potentially privileged topics in advance of testimony; appearing at the

deposition and objecting to questions on an individual basis; or initiating a lawsuit over

enforcement of the subpoena. Id. at US-002269. The Defendant, through Mr. Costello or

otherwise, did none of these.

       Instead, two days later, on October 18, 2021, Mr. Costello responded to Mr. Clark’s email

by writing that “President Trump’s invocation of those privileges absolutely limits Mr. Bannon’s

ability to testify before Congress and provide documents.” Ex. 16 at US-000984. The Defendant

and Mr. Costello allowed the Committee’s October 18 deadline for an explanation of his default

to pass without submitting any relevant information.

                  The Defendant’s Attempt to Enlist Congress to Pressure
                      the Department of Justice to Dismiss the Case

       In July 2022, shortly before his trial was set to begin and after consuming nine months of

this Court’s time and resources, the Defendant attempted to leverage the information he had

unlawfully withheld from the Committee to engineer dismissal of his criminal prosecution. When

his quid pro quo attempt failed, the Defendant made no further attempt at cooperation with the

Committee—speaking volumes about his bad faith.

       The Defendant’s trial was set for July 18, 2022. In the weeks leading up to it, he and his

attorneys tried repeatedly, but unsuccessfully, to delay it. See, e.g., ECF No. 88 (June 29, 2022,




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Motion to Continue Trial); ECF No. 95 (July 6, 2022, Reply in Support of Motion to Continue

Trial); ECF No. 103 (July 10, 2022, Supplement in Support of Motion to Continue Trial). Then,

on July 9, Mr. Costello sent the Committee a letter (which was promptly leaked to the news media 1)

representing that the former President had waived executive privilege “to allow Mr. Bannon to

comply with the subpoena issued by your Committee.” Ex. 17 (July 9, 2022, Costello Letter) at

2. But Mr. Costello’s letter did not then offer the Defendant’s compliance; it made no mention of

any efforts by the Defendant to gather and produce responsive documents, and it attempted to

impose preconditions on the Defendant’s potential testimony—including that he be permitted to

testify at a public hearing. Id. at 1-2. The Committee responded on July 14, informing the

Defendant that if he genuinely intended to comply with the subpoena, he could begin by producing

documents. Ex. 18 (July 14, 2021, Committee Letter) at 1.

       On July 13, 2022, the day before the final pretrial conference, the Defendant renewed his

motion to continue the trial—a desperate last-ditch effort at delay. See ECF No. 108 (July 13,

2022, Motion to Continue Trial (Renewed)). It was promptly rejected at the pretrial conference.

See July 14, 2022, Minute Entry. The very next day, on July 15, the Defendant’s attorney, Evan

Corcoran, contacted Committee counsel and made clear that the Defendant’s newfound

cooperative spirit had strings attached—namely, that it would require that the Committee and the

Government to agree that if the Defendant complied with the subpoena, the Government would

delay and ultimately dismiss his trial. Ex. 19 (Oct. 7, 2022, Committee Staffer Interview) at US-

002345; Ex. 20 (July 15, 2022, Committee Staffer Email). Committee counsel responded to Mr.

Corcoran that Mr. Corcoran would need to contact the Government, the prosecuting entity, to


       1
        See, e.g., “Bannon, Facing Jail and Fines, Agrees to Testify to Jan. 6 Panel,” N.Y. Times,
July 10, 2022, available at https://www.nytimes.com/2022/07/10/us/politics/bannon-jan-6-
trump.html (last accessed Oct. 16, 2022).


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discuss any resolution in his criminal case. Ex. 19 at US-002345; Ex. 20. Mr. Corcoran

subsequently asked Committee counsel if the Committee would join the Defendant in requesting

that the Government dismiss his criminal case in exchange for his cooperation with the Committee,

to which Committee counsel declined. Ex. 19 at US-002345; Ex. 20. The defense never contacted

the Government—perhaps because the Government had made clear through its pleadings and at

argument that it understood the Defendant’s actions to be a stunt and would not consider

dismissing the case. See ECF No. 105 (July 11, 2022, United States’ Motion in Limine to Exclude

Evidence or Argument Relating to the Defendant’s Eleventh-Hour Assertion That He is Willing

to Testify Before the Select Committee) at 1 (arguing that the Defendant’s last-minute cooperative

spirit was “irrelevant to whether he willfully refused to comply in October 2021 with the Select

Committee’s subpoena” and noting that “[t]he criminal contempt statute is not intended to procure

compliance; it is intended to punish past noncompliance”); July 11, 2022, Tr. at 20-21

(GOVERNMENT: “And it would be bad precedent if we got into a situation where a defendant

could engage in total noncompliance with the Committee, be referred for criminal contempt, have

a different branch of government expend considerable resources in preparing –”; COURT:

Branches.”; GOVERNMENT: “Branches. – expend considerable resources in preparing for a

criminal trial, only to have the defendant witness—on the eve of trial, say, Well, actually, I will

comply now, in hopes of the criminal case being dismissed. That’s a different kind of contempt

and obstruction, and it sort of—validating it would not serve the purpose of the statute.”). When

the Defendant’s eleventh-hour attempt to derail his trial failed, he never made any further attempt

to comply with the subpoena—continuing up to this day.




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      The Defendant’s Public Attacks on the Committee and Criminal Justice System

       Throughout the pendency of this case, the Defendant has exploited his notoriety—through

courthouse press conferences and his War Room podcast—to display to the public the source of

his bad-faith refusal to comply with the Committee’s subpoena: a total disregard for government

processes and the law. Through his public platforms, the Defendant has used hyperbolic and

sometimes violent rhetoric to disparage the Committee’s investigation, personally attack the

Committee’s members, and ridicule the criminal justice system. The Defendant’s statements prove

that his contempt was not aimed at protecting executive privilege or the Constitution, rather it was

aimed at undermining the Committee’s efforts to investigate an historic attack on government.

       The Defendant launched attacks on the Committee and the criminal justice process

immediately after his arraignment, on November 15, 2021, when he gathered the press outside of

the courthouse and joined his attorneys in a five-minute statement. See “Misdemeanor from Hell”:

Watch Bannon Speak Out After He’s Released, CNN, Nov. 15, 2021, available at

https://www.youtube.com/watch?v=-diE7kCCidE (last accessed Oct. 16, 2022). The Defendant

ridiculed through counsel this case as “a scam from the beginning,” id. at Minute 1:18, promised

that he would make this case “the misdemeanor from hell for Merrick Garland, Nancy Pelosi, and

Joe Biden,” id. at Minute 3:15, and warned that “we’re gonna go on the offense on this and stand

by,” id. at Minute 3:28. When a media member asked the Defendant what he meant by his

statement that he was “going on offense,” the Defendant replied, “Stand by.” Id. at Minute 3:44.

The Defendant answered that question in the months that followed. Rather than respect the

criminal justice process and participate meaningfully and seriously in the courtroom defense of his

case, for the Defendant, “going on offense” meant resorting to name calling, mimicry, and

menacing rhetoric aimed at the Committee’s investigation and its membership. For example:




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       •   On June 15, 2022, after a motions hearing, the Defendant exited the courthouse and
           announced that he looked forward to having “Nancy Pelosi, little Jamie Raskin, and
           Shifty Schiff in here at trial answering questions.” See “Judge rejects Bannon’s effort
           to dismiss criminal case for defying Jan. 6 select committee,” Politico, June 15, 2022,
           available at https://www.politico.com/news/2022/06/15/judge-rejects-bannons-effort-
           to-dismiss-criminal-case-for-defying-jan-6-select-committee-00039888 (last viewed
           Oct. 16, 2022).

       •   Shortly before trial, on a July 12 episode of his podcast, the Defendant urged listeners
           to pray for “our enemies” because “we’re going medieval on these people, we’re going
           to savage our enemies. See Episode 1996, War Room: Pandemic, July 12, 2022,
           Minute 16:37 to 17:46, available at https://warroom.org/2022/07/12/episode-1996-
           pfizer-ccp-backed-partners-elon-musk-trolls-trump-alan-dershowitz-on-partisan-
           america-and-the-constitution-informants-confirmed-at-j6/ (episode webpage last
           accessed Oct. 16, 2022 2).

       •   During trial, on July 19, the Defendant gave another courthouse press conference, in
           which he accused Committee Chairman Rep. Bennie Thompson of “hiding behind
           these phony privileges,” ridiculed him as “gutless” and not “man enough” to appear in
           court, and mocked him as a “total absolute disgrace.” The Defendant also teased
           Committee member Rep. Adam Schiff as “shifty Schiff” and another member of
           Congress, Rep. Eric Swalwell, as “fang fang Swalwell.” He went on to say that “this
           show trial they’re running is a disgrace.” See “Prosecutors say Bannon willfully
           ignored subpoena,” Associated Press Archive, July 24, 2022, available at
           https://www.youtube.com/watch?v=3SR_EJL5nkw (last accessed Oct. 16, 2022).

       •   Also during trial, on July 20, the Defendant emerged from the courthouse and derided
           the Committee’s work as a “show trial,” likening it to “the Moscow show trial of the
           1930s.” See “Bannon’s team questions House subpoena deadline,” Associated Press
           Archive,            July            25,         2022,           available          at
           https://www.youtube.com/watch?v=RJ9qH4zMMI0 (last accessed Oct. 16, 2022).

       •   And days after the jury found him guilty, on July 25, 2022, the Defendant proclaimed
           that he was going to “kill this Administration in the crib” and that if the Department of
           Justice did not like it, it could “Suck on it. We’re destroying this illegitimate regime.”
           See “Steve Bannon Sends ‘Suck on It’ Message to Pelosi, Thompson, DOJ,”
           Newsweek, July 25, 2022, available at https://www.newsweek.com/steve-bannon-
           sends-suck-it-message-pelosi-thompson-doj-1727813 (last accessed Oct. 16, 2022).



       2
        The Government accessed the War Room website on October 16, 2022, but this episode
would not play. It can be accessed as a podcast from Apple and other providers. Upon request,
the Government can provide the Court with a recording of the episode or the relevant portions.


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                                 The Presentence Investigation

       After the Defendant was found guilty, the Probation Office initiated its routine

presentencing investigation in preparation for the sentencing hearing. See 18 U.S.C. § 3552(a);

Fed. R. Crim. P. 32(c). For any defendant convicted of a federal offense and facing sentencing,

that investigation typically includes a personal interview, see Fed. R. Crim. P. 32(c)(2), and an

assessment of the defendant’s financial condition, see Fed. R. Crim. P. 32(d)(2)(ii). For the

Defendant’s part, he cooperated in that investigation only insofar as it was convenient to his

interests. He freely answered questions about his family, professional life, personal background,

and health. But the Defendant refused to disclose his financial records, instead insisting that he is

willing and able to pay any fine imposed, including the maximum fine on each count of conviction.

See ECF No. 149 (Presentence Investigation Report (“PSR”)), ⁋ 83. The Probation Office’s

investigation of the Defendant’s financial condition was, therefore, curtailed to commercially

available and other public sources. See id. ⁋⁋ 84-86.

                                         ALLOCUTION

       The Defendant’s contempt of Congress was absolute and undertaken in bad faith. To date,

he remains in default: more than one year after accepting service of the Committee’s subpoena,

the Defendant has not produced a single document or answered a single deposition question—nor

has he endeavored to do so, except as part of a duplicitous quid pro quo. The mandatory minimum

sentence of one month in prison is insufficient to account for, punish, and deter his criminal

offenses. The Court should instead impose a sentence of six months’ imprisonment—the top end

of the Guidelines’ advisory sentencing range—and fine the Defendant $200,000—based on his

demand to pay the maximum fine in lieu of participating in the standard presentencing financial

investigation conducted by the Probation Office.




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                                        Statutory Penalty

       The first step in determining the appropriate sentence is to look to the statute of conviction

itself. The plain terms of Section 192 require that the Defendant be sentenced to a term of

“imprisonment in a common jail for not less than one month nor more than twelve months” for

each count of conviction. The terms may be imposed concurrently. See 18 U.S.C. § 3584.

Although Section 192 provides for a maximum fine of $1,000, 18 U.S.C. § 3571(b) provides that

the maximum fine for Class A misdemeanors is the greater of either the amount specified in the

law setting forth the offense or $100,000.

       Accordingly, the Court must sentence the Defendant to at least one month in prison on each

count, which can be imposed concurrently, and the maximum fine for each count is $100,000.

                                   The Sentencing Guidelines

       The next step in determining the appropriate sentence is to calculate the applicable advisory

sentencing range under the United States Sentencing Guidelines. Gall v. United States, 552 U.S.

38, 49-50 (2007). The Government agrees with the Probation Office that the applicable offense

guideline is Section 2X5.2 and that the applicable sentencing range, therefore, is 1 to 6 months,

with a fine range of $1,000 to $100,000. See PSR ⁋⁋ 34-47, 89, 110.

       To determine the applicable offense guideline, the Guidelines direct the Court to begin with

the Statutory Index found in Appendix A. U.S.S.G. § 1B1.2(a). For violations of 2 U.S.C. § 192,

the Statutory Index references Guidelines Sections 2J1.1 and 2J1.5. Because the Statutory Index

specifies more than one offense guideline, “the court will determine which of the referenced

guideline sections is most appropriate for the offense conduct charged.” U.S.S.G. § 1B1.2, App.

Note 1. Although neither offense guideline specifically addresses contempt of Congress, Section

2J1.1, which is captioned “Contempt,” is akin to the Defendant’s offense and most appropriate to




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address his conduct. Section 2J1.1 in turn directs that Section 2X5.1 be applied. See U.S.S.G. §

2J1.1, App. Note 1 (“Because misconduct constituting contempt varies significantly and the nature

of the contemptuous conduct, the circumstances under which the contempt was committed, the

effect the misconduct had on the administration of justice, and the need to vindicate the authority

of the court are highly context-dependent, the Commission has not provided a specific guideline

for this offense.”). Because Section 2X5.1 applies only to felony offenses, however, and a

violation of Section 192 is a Class A misdemeanor, the application notes for Section 2X5.1 in turn

indicate that Section 2X5.2 should be applied. See U.S.S.G. § 2X5.1, App. Note 3. Applying

Section 2X5.2, as did the Probation Office, an offense level of 6 applies to both counts of

conviction in this case and the advisory sentencing range is 1 to 6 months. See PSR ⁋⁋ 34-47; see

also U.S.S.G. §§ 5G1.1(b), (c)(2) (explaining that a statutory mandatory-minimum sentence—

here, one month—shall establish the bottom-end of the applicable range).

       Contrary to that analysis, the Defendant asserts that Section 2J1.5 should apply. See PSR

at 29. But Section 2J1.5, which addresses the failure to appear by a material witness, should not

be applied because the applicable offense level is determined by whether the failure to appear was

in relation to a felony or misdemeanor prosecution—neither of which have a clear corollary in the

context of a subpoena to appear for a congressional deposition or to provide documents to

Congress. See U.S.S.G. § 2J1.5, Background (“The base offense level incorporates a distinction

as to whether the failure to appear was in respect to a felony or misdemeanor prosecution.”). Even

if this guideline were to apply, the Defendant applies it incorrectly, claiming that the offense level

4, for a failure to appear in a misdemeanor prosecution, should apply under Section 2J1.5, instead

of the failure to appear in a felony matter. Id. The Defendant does not explain why his refusal to

appear to provide testimony and documents in relation to an event—the January 6 attack on the




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United States Capitol—that has resulted in numerous felony charges for hundreds of individuals 3

is analogous to a failure to appear in a misdemeanor matter. It is not. To the extent this Court

analogizes the Defendant’s refusals to appear for testimony and to provide records to a failure of

a material witness to appear in a criminal prosecution, therefore, it is most analogous to a witness

refusing to appear to give testimony and information in a felony prosecution, not a misdemeanor.

Accordingly, should the Court apply U.S.S.G. § 2J1.5, as the Defendant requests, it should find an

offense level of 6, for a failure to appear in a felony prosecution, resulting in in the same advisory

sentencing range recommended under the Government’s and Probation Office’s recommendation.

       The Court should also reject the Defendant’s dubious assertion that he is entitled to credit

for acceptance of responsibility. See PSR at 27-28. To be entitled to a reduction for acceptance

of responsibility, the Guidelines require that the Defendant “clearly demonstrates” his acceptance.

U.S.S.G. § 3E1.1(a); see also United States v. Dozier, 162 F.3d 120, 128 (D.C. Cir. 1998) (“To

qualify for an adjustment, a defendant must ‘clearly’ accept responsibility for his crime; it is not

enough that he arguably do so.”). And it is a “rare situation” in which a two-level reduction is

appropriate after going to trial. U.S.S.G. § 3E1.1, App. Note 2; see United States v. Thomas, 97

F.3d 1499, 1500 (D.C. Cir. 1996) (“Defendants who . . . force the government to trial are not

ordinarily entitled to the benefit of U.S.S.G. § 3E1.1.”); United States v. Ring, 811 F. Supp. 2d

359, 384 (D.D.C. 2011) (denying two-level reduction for acceptance where defendant contested

proof of his intent at trial). The Defendant’s claim for acceptance of responsibility is contradicted

by his sustained bad faith. Not once since he was served by the Select Committee with a subpoena


       3
         As of October 6, 2022, more than 880 defendants have been arrested on charges arising
from the January 6 attack. More than 300 of those defendants have been charged with felony
offenses. See “21 Months Since the Jan. 6 Attack on the Capitol,” United States Attorney’s Office
for the District of Columbia Press Release, Oct. 6, 2022, available at https://www.justice.gov/usao-
dc/21-months-jan-6-attack-capitol (last accessed Oct. 16, 2022).


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for documents and testimony has the Defendant, up to and including through his guilty verdict,

undertaken a serious effort to comply with his obligations under the law. Still to this day, the

Defendant has not produced a single document or—except preconditioned on making a spectacle

through public testimony or in exchange for the delay and dismissal of his case—endeavored to

appear for the deposition required by the subpoena.        As Mr. Costello informed the Select

Committee on July 9, 2022, “[the Defendant] has not had a change of posture or of heart.” Ex. 17.

Mr. Costello could not have put it more perfectly: the Defendant has maintained a contemptuous

posture throughout this episode and his bad faith continues to this day. The Defendant has

expressed no remorse for his conduct and attacked others at every turn. The Court should reject

the Defendant’s request to be credited with acceptance of responsibility that he has never shown.

       The Court should accept the Government’s and Probation Office’s recommendation that

Section 2X5.2 applies, in which case the Defendant’s offense level is 6 and the applicable advisory

sentencing range is 1 to 6 months’ imprisonment and a fine of $1,000 to $100,000.

                               The Statutory Sentencing Factors

       The final step in determining the appropriate sentence is to consider the various factors set

forth in 18 U.S.C. § 3553(a), see Gall, 552 U.S. at 49-50, including the nature, circumstances, and

seriousness of the offense; the history and characteristics of the Defendant; the need to promote

the rule of law and provide just punishment; the need to afford adequate deterrence; and the need

to avoid unwarranted sentencing disparities. Those factors, which are addressed in seriatim, all

support a Guidelines-compliant sentence at the top of the advisory sentencing range.

                  The Nature, Circumstances, and Seriousness of the Offense

       The nature and circumstances of the offense support a top-end Guidelines sentence because

a person could have shown no greater contempt than the Defendant did in his defiance of the




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Committee’s subpoena. Indeed, it would seem no person violating Section 192 should be subject

to a top-end Guidelines sentence if the Defendant is not.        From the time he was initially

subpoenaed, the Defendant has shown that his true reasons for total noncompliance have nothing

to do with his purported respect for the Constitution, the rule of law, or executive privilege, and

everything to do with his personal disdain for the members of Congress sitting on the Committee

and their effort to investigate the attack on our country’s peaceful transfer of power. Not once

throughout this episode has the Defendant even tried to collect a document to produce, and he has

never attempted in good faith to arrange to appear for a deposition. His noncompliance has been

complete and unremitting. And his effort to exact a quid pro quo with the Committee to persuade

the Department of Justice to delay trial and dismiss the charges against him should leave no doubt

that his contempt was deliberate and continues to this day.

       The Defendant hid his disregard for the Committee’s lawful authority behind bad-faith

assertions of executive privilege and advice of counsel in which he persisted despite the

Committee’s—and counsel for the former President’s—straightforward and clear admonishments

that he was required to comply. As Mr. Costello disclosed to the Government in pre-indictment

interviews, the Defendant and Mr. Costello worked together throughout the process of responding

to the Committee, and the Defendant was fully apprised of the subpoena, the obligations the

subpoena imposed, and Mr. Costello’s correspondence on his behalf with the Committee and the

former President’s lawyer. The Defendant knew, for example, that the Clark Letter did not direct

him to engage in total noncompliance; and he knew that his decision to default subjected him to

prosecution. Moreover, the Defendant’s refusal to collect even a single record in preparation for

responding to the subpoena, even just to determine which of the records he possessed might be

subject to privilege—it remains unclear to the Government what privilege could have applied—




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shows he never had any intention of complying in the first place. The Defendant claims he simply

relied on his attorney’s advice, but the Defendant is Harvard educated and was directly involved

in his response to the subpoena; and he clearly can read. The Defendant’s alleged reliance on

executive privilege and advice of counsel was just a cover for his contempt.

       The seriousness of the offense also merits a top-end Guidelines sentence. The Defendant’s

contempt was directed at a congressional committee convened to investigate a violent attack on

the United States Capitol—the worst such assault since a foreign military descended upon the

Capitol in 1814—and an unprecedented effort to reverse a presidential election and stop the

peaceful transfer of power. The Defendant’s abject refusal to heed the Committee’s subpoena,

under the circumstances with which this country is confronted, could not be more serious.

   The History and Characteristics of the Defendant and the Need for Specific Deterrence

       The Defendant’s default on the Committee’s subpoena is just one entry in a pattern of

contempt he has shown for the rule of law and government authority. Throughout this prosecution,

as described above, the Defendant has leveraged his media platform to mock members of the

Committee through offensive name calling, deride the Committee’s investigation through rhetoric

that risks inspiring violence, and ridicule the criminal justice system through hyperbole. The

Defendant is entitled to his views and to express them vociferously; there is nothing criminal about

the Defendant’s opinions or his expression of those opinions. But this Court may—and should—

consider the Defendant’s out-of-court statements to ascertain his motive, evaluate his intent, and

measure the degree of his contempt, including appraising his overall disdain and disrespect for the

rule of law and the investigative and criminal justice processes that are crucial to maintaining a

peaceful, lawful, and orderly society. See Mitchell, 508 U.S. at 489 (“The First Amendment,

moreover, does not prohibit the evidentiary use of speech to establish the elements of a crime or




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to prove motive or intent.”). Here, the Defendant’s constant, vicious barrage of hyperbolic rhetoric

disparaging the Committee and its members, along with this criminal proceeding, confirm his bad

faith. These statements are powerful evidence of the extent of the Defendant’s criminal contempt

and demonstrate a pattern of disrespect for lawful authority.

       Even now that he is facing sentencing, the Defendant has continued to show his disdain for

the lawful processes of our government system, refusing to provide financial information to the

Probation Office so that it can properly evaluate his ability to pay a fine. Rather than disclose his

financial records, a requirement with which every other defendant found guilty of a crime is

expected to comply, the Defendant informed Probation that he would prefer instead to pay the

maximum fine. So be it. This Court should require the Defendant to comply with the bargain he

proposed when he refused to answer standard questions about his financial condition. The Court

should impose a $100,000 fine on both counts—the exact amount suggested by the Defendant.

       The Defendant’s contempt for Congress and its lawful authority continues to this day, and

it was not an aberration. He has consistently and thoroughly opted for fealty to a personal agenda,

rather than fealty to the rule of law and the basic obligations of citizenship in an orderly democratic

society. The sentence this Court imposes must address the Defendant’s belief that he is above the

law and processes to which his fellow citizens regularly submit. And this Court’s sentence must

provide a clear message to the Defendant that his contemptuous conduct stops here. Given this

and all the other factors discussed herein, only a sentence at the top end of the Guidelines will be

sufficient but not greater than necessary to accomplish this.

    The Need to Provide for Adequate General Deterrence and to Promote the Rule of Law

       A top-end Guidelines sentence is necessary to provide adequate general deterrence and

promote the rule of law. The Defendant thumbed his nose at the Committee from the moment he




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was served with a subpoena; he never intended to, or even tried, to comply with his obligations

under the law. Moreover, the Defendant used his public notoriety to boast of his contempt and

undermine the Committee’s investigative authority and purpose; his contempt was open and

notorious. Such behavior cannot be tolerated, lest it become commonplace and accepted, and the

important work of congressional committees like the Select Committee rendered impossible. The

Committee’s investigation is not complete and there will be more congressional investigations in

the future—a sentence of incarceration is mandatory, and imposing a sentence above the minimum,

at the top of the Guidelines, will reinforce to future subpoena recipients their legal obligations.

Moreover, sentencing the Defendant to a term of imprisonment at the top end of the Guidelines

will promote public confidence by demonstrating that individuals who commit crimes will be held

accountable, regardless of their own influence and prominence and that of their allies.

                    The Need to Avoid Unwarranted Sentencing Disparities

       A sentence of imprisonment is mandatory, and a term at the top end of the Guidelines will

avoid unwarranted disparities between the Defendant and other congressional contemnors. As Mr.

Corcoran pointed out through his questioning of Kristin Amerling at trial, it is the rare case in

which someone defies a congressional subpoena entirely. July 20, 2022, Trial Tr. 716:13-22.

Indeed, there are only a few cases in which defendants have been charged with willfully defaulting

on a subpoena and convicted after trial, like the Defendant was here. But in those few cases, each

has been sentenced to a period of incarceration. Peter Licavoli, for example, was sentenced to six

months’ imprisonment for his refusal to testify in response to a congressional subpoena. See

“Racket Figure Gets Contempt Sentence,” N.Y. Times, Apr. 15, 1960, available at

https://www.nytimes.com/1960/04/15/archives/racket-figure-gets-contempt-sentence.html         (last

accessed Oct. 16, 2022). In United States v. Tobin, the defendant was sentenced to thirty days for




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not providing certain documents in response to a subpoena. 195 F. Supp. 588, 617 (D.D.C. 1961).

Notably, however, the defendant in that case, unlike the Defendant here, had previously voluntarily

provided some records and was acting on clear directions not to comply from the sitting governors

of two states which controlled the subpoenaed entity for which the defendant worked. Id. at 596.

The defendant also offered at sentencing to provide the records he previously had withheld. Id. at

617.   The Defendant here, by contrast, has never taken a single step to comply with the

Committee’s subpoena and has acted in bad faith throughout by claiming he was merely acting on

former President Trump’s instructions—even though former President Trump’s attorney made

clear he was not. A sentence equal to what the court ordered in Tobin—the minimum allowed

under Section 192—would not reflect, therefore, the more contemptuous conduct at issue in this

case. And any sentence below the six-month sentence imposed in Licavoli would similarly fail to

account for the full extent of the Defendant’s bad faith in the present case.

       Moreover, several defendants who did appear in response to subpoenas and were convicted

with contempt for refusing to answer some—but not all—questions posed have been sentenced to

terms of imprisonment ranging from six months to a year. See, e.g., Hutcheson v. United States,

369 U.S. 599, 599 (1962) (defendant sentenced to six months’ imprisonment on eighteen counts

of contempt of Congress for refusing to answer eighteen questions); Yellin v. United States, 287

F.2d 292, 294 (7th Cir. 1961) (defendant sentenced to one-year terms of imprisonment, concurrent,

on four counts of contempt of Congress for refusing to answer four questions); United States v.

Seeger, 303 F.2d 478, 480 (2d Cir. 1962) (defendant sentenced to one-year terms of imprisonment,

concurrent on ten counts of contempt of Congress for refusing to answer ten questions). The

Defendant’s continued and outright refusal to produce a single document or even appear at all is

far more contemptuous than the conduct of defendants who appeared and refused to answer a few




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of several questions posed. Under these circumstances, the Defendant’s total noncompliance

warrants a sentence of incarceration at the top end of the Guidelines.

                                         CONCLUSION

       The rioters who overran the Capitol on January 6 did not just attack a building—they

assaulted the rule of law upon which this country was built and through which it endures. By

flouting the Select Committee’s subpoena and its authority, the Defendant exacerbated that assault.

To this day, he continues to unlawfully withhold documents and testimony that stand to help the

Committee’s authorized investigation to get to the bottom of what led to January 6 and ascertain

what steps must be taken to ensure that it never happens again. That cannot be tolerated. Respect

for the rule of law is essential to the functioning of the United States government and to preserving

the freedom and good order this country has enjoyed for more than two centuries. The Defendant’s

bad-faith strategy of defiance and contempt deserves severe punishment. This Court should

impose a sentence of six months’ imprisonment, reflecting the most severe Guidelines-compliant

punishment available, and fine the Defendant $200,000.

                                              Respectfully submitted,

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